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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
        Plaintiffs,                         )
                                            )
and                                         )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE COMANCHE NATION,                        )
THE PONCA TRIBE OF INDIANS OF               )
OKLAHOMA,                                   )
THE SEMINOLE NATION,                        )
THE OTOE-MISSOURIA TRIBE, and               )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
        Plaintiffs/Intervenors,             )
                                            )
vs.                                         )           Case No. CIV-19-1198-D
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma, and  )
ex rel. STATE OF OKLAHOMA, as the real )
party in interest,                          )
                                            )
        Defendants/Counterclaimants.        )


                                        ORDER

       After conducting an additional, telephonic pretrial conference under Fed. R. Civ.

P. 16(a) with counsel for all parties on April 21, 2020, the Court finds that the following

case management order should be issued.

       IT IS HEREBY ORDERED:
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       1) Not later than May 22, 2020, the parties shall simultaneously file cross-motions

for partial summary judgment on the issue of whether the Tribal Gaming Compact entered

between each Plaintiff or Intervenor and the State of Oklahoma automatically renewed or

terminated pursuant to Part 15.B. The parties shall include in their respective motions any

and all grounds related to the renewal/termination issue on which they seek a declaratory

judgment in their favor. To the extent reasonably possible, Plaintiffs and Intervenors shall

join together in filing a single motion and brief, but one additional motion may be filed if

deemed necessary for effective advocacy by Intervenor(s) who wish to present additional

arguments. In other words, Plaintiffs and Intervenors are collectively authorized to file no

more than two motions; Defendants may file only one motion. The supporting brief for

each motion may exceed the page limitation of LCvR7.1(e) but may not exceed 40 pages

in length. The parties are encouraged to utilize only the number of pages reasonably

necessary to present their arguments.

       2) Response briefs are due within the usual time provided by LCvR7.1(g) unless

otherwise ordered by the Court upon separate motion. No reply briefs shall be filed without

leave of Court upon a showing of good cause.

       3) The deadline to complete the mediation proceeding as directed by the Court is

extended until June 30, 2020.

       IT IS SO ORDERED this 23rd day of April, 2020.




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